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                                                           Exhibit F

                      Truth in Advertising:
                     An Ethics Case Study
                                         By the AILA Ethics Committee


Introduction                                                       Additionally, this article will address ethical considerations
                                                                   through the consultation and intake process for potential
Social media provides many marketing opportunities for             VAWA cases. Conflicts of interest and issues surrounding
attorneys. Live videos, informative Facebook posts or tweets,      confidentiality should be forefront in attorneys’ minds
TikTok videos, catchy Instagram pictures, or the perfect           when assessing a potential client’s VAWA case. While
hashtag can be useful marketing tools. Used correctly, these       these ethical issues should always be considered, doing so
social media tools provide potential clients a direct pathway      may be especially prudent for attorneys who have used or
to you and your services. Given the informal nature of these       will use social media platforms and advertisements when
tools and ease of distribution, it is easy to forget that social   communicating about VAWA.
media messages are communications, subject to applicable
rules governing communications about legal services.
                                                                   An Immigration Lawyer’s Hypothetical
Social media advertisements that discuss legal remedies in a
limited context can lead to unintended misrepresentations
                                                                   Advertisement
and sow confusion or misinformation among immigrant                In the following hypothetical, an attorney publishes
communities about eligibility for these remedies. In addition,     advertisements via social media related to VAWA relief. The
it can set the client-lawyer relationship on a precarious path.    advertisements are short. One advertisement guarantees
                                                                   immigrants can adjust without leaving the country, even if
This article will provide a framework of relevant ethical          they had a deportation, and that normal marital problems
considerations and potential liabilities, both disciplinary        can be a basis for this. The other advertisement indicates
and civil, that immigration attorneys must consider when           that this firm has figured out a method for immigrating
engaging with social media platforms while advertising for         without leaving the country that other firms have not and
legal services. While this note highlights the Violence Against    stating a client will definitely get a green card within two
Women Act (VAWA) process, this framework can be applied            years. None of the advertisements mention “VAWA” or the
to other forms of relief.                                          legal requirements for VAWA.

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The Violence Against Women Act                                                                               a fact necessary to make the statement considered as a
                                                                                                             whole not materially misleading.”6 A misleading statement is
Under VAWA, certain immigrants can file a “self-petition” to                                                 defined in the comments to the rule as creating “a substantial
U.S. Citizenship and Immigration Services if they have been                                                  likelihood that it will lead a reasonable person to formulate
battered or subjected to extreme cruelty by a U.S. citizen or                                                a factual foundation.”7 Further, “[a] communication that
lawful permanent resident spouse or by a U.S. son/daughter                                                   truthfully reports a lawyer’s achievements on behalf of clients
age 21 or over. The self-petitioner must also prove they                                                     or former clients may be misleading if presented so as to
were married in good faith, subjected to abuse during the                                                    lead a reasonable person to form an unjustified expectation
marriage, resided with the abuser, and are a person of good                                                  that the same results could be obtained for other clients in
moral character. A VAWA self-petitioner subjected to battery                                                 similar matters without reference to the specific factual and
or extreme cruelty by a spouse can file up to two years after                                                legal circumstances of each client’s case.”8
the death of or divorce from the abusing spouse.
                                                                                                             Additionally, federal regulation at 8 CFR §1003.102(f), tracks
The VAWA regulations provide an open-ended definition to                                                     the Model Rules.9
what constitutes battery or extreme cruelty.

               For the purpose of this chapter, the phrase                                                   Do the Advertisements Violate the
               “was battered by or was the subject of
               extreme cruelty” includes, but is not                                                         Rules of Professional Conduct?
               limited to, being the victim of any act                                                       It would be difficult to argue that the advertisements are
               or threatened act of violence, including                                                      not misleading, and one might even argue that they contain
               any forceful detention, which results or                                                      false statements. There is no mention in the advertisements
               threatens to result in physical or mental                                                     that relief is premised upon a finding of battery or extreme
               injury.1 (Emphasis added.)                                                                    cruelty or that waivers for the grounds of inadmissibility
                                                                                                             (e.g., previous deportation) require a finding that the
The evidentiary standard for VAWA petitions is “any                                                          grounds are connected to the battery or extreme cruelty.
credible evidence.”2 In addition to primary evidence, such                                                   Further, few would characterize battery or extreme cruelty
as a police report made by a VAWA petitioner describing an                                                   as normal marital problems.
attack, attorneys can use any other probative or supportive
evidence.                                                                                                    It would be a struggle to factually substantiate the assertions
                                                                                                             in the comparisons to other lawyers or to justify the
An approved VAWA self-petition provides the applicant                                                        expectations that such comparisons may create in clients,
with a work permit, deferred action status, and the ability                                                  namely, that every other lawyer is wrong, that this attorney
to apply for lawful permanent residence. Additionally, there                                                 is correct, and that this attorney wins all cases. These
are exceptions to common grounds of inadmissibility for                                                      statements give the impression that this kind of process is
VAWA petitioners who are applying for lawful permanent                                                       the rule rather than the exception or that the lawyer has
residence. In some circumstances, the three- and ten-year                                                    figured out a solution that other lawyers have not. They
unlawful presence bars will not apply,3 and the “permanent                                                   will likely give rise to unjustified or unrealistic expectations
bar” can be waived.4 Additionally, applicants may adjust                                                     about what the lawyer can do for potential clients. Even if
status under INA §245(a) if they entered without inspection,                                                 true, statements presented in this fashion regarding other
obviating the need to leave the United States to obtain                                                      clients in similar matters, without reference to the specific
permanent residence.5                                                                                        factual and legal circumstances of each client’s case, may be
                                                                                                             misleading.

The Ethics of Communicating About                                                                            Certainly not every potential client can adjust status if he or
                                                                                                             she entered without inspection or has a deportation order. In
Legal Services                                                                                               all likelihood, the majority of potential clients may not be able
ABA Model Rule (MR) 7.1 states “A lawyer shall not make a                                                    to adjust at all. Therefore, the advertisements are misleading.
false or misleading communication about the lawyer or the                                                    It would be an improvement to use less certain language, such
lawyer’s services. A communication is false or misleading if it                                              as “You may be able to adjust status in the United States even
contains a material misrepresentation of fact or law, or omits                                               if you came illegally or have a deportation order.”

1  8 CFR 204.2(c)(1)(iv).
2  8 CFR 204.2(c)(2).
3  INA §212(a)(9)(B)(iii)(IV) referencing §212(a)(6)(A)(ii). There must be a substantial connection between the unlawful presence and abuse.
4  INA §212(a)(9)(C). There must a connection between the triggering removal, departure or re-entering, and the qualifying abuse.
5  Memo, Aytes, Assoc. Director, Domestic Operations, USCIS, HQDOMO 70/23.1 (Apr. 11, 2008), AILA Doc. No. 08042161.
6  We use the ABA Model Rules in this article. See Rule 8.5 to determine which state rules apply.
7  ABA Model Rule 7.1, Comment 2.
8 MR 7.1, Cmt. 3; it continues “Similarly, an unsubstantiated claim about a lawyer’s or law firm’s services or fees, or an unsubstantiated comparison of the lawyer’s or law firm’s services or fees with those of
  other lawyers or law firms, may be misleading if presented with such specificity as would lead a reasonable person to conclude that the comparison or claim can be substantiated.”
9 This regulation provides rules and procedures regarding professional conduct of practitioners in Immigration matters and grounds for discipline by the BIA.


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A Hazardous Path                                                                                            requirements of VAWA, that the abuser will be identified to
                                                                                                            DHS officials, and that a written record of actions giving rise
A potential client, excited by a misleading proposition of filing                                           to a VAWA claim will be made.
for status without leaving the country, is now meeting with
the lawyer,10 who could of course correct the relationship by                                               Some conflicts are not waivable even when the abuser gives
carefully screening all clients who are not eligible for relief                                             consent if the lawyer reasonably believes that they will
under VAWA. But the client-lawyer relationship is arguably                                                  never be able to competently and diligently represent each
poised to travel down a longer road of ethics violations if the                                             affected client.13 Moreover, the lawyer may have to advise
immigration lawyer were to: conduct the consultation with                                                   the victim about reporting the abuser to the police or filing
both spouses present and suggest that VAWA is appropriate                                                   for a protection order. A waiver under these circumstances
for one of them; continue with the suggestion that normal                                                   is untenable when the representation involves the assertion
marital difficulties are sufficient for a VAWA application;                                                 of a claim by one client against another client.14 It is thus
or even induce clients to misrepresent the facts of their                                                   prudent for the lawyer to represent solely the VAWA self-
situation and apply for relief.                                                                             petitioner rather than engage in joint representation of both
                                                                                                            spouses.
Working with victims of violence and domestic abuse
warrants special and often vital considerations. VAWA self-                                                 All of this does not even address the dangerous issues
petitioners are among the most vulnerable immigrants                                                        inherent in consulting with and representing both abuser
as their emotional well-being and physical safety are at                                                    and victim, such as revictimization of the survivor or causing
risk. Attorneys should consider this when fulfilling duties                                                 the victim to feel trapped and compelled to stay with the
pursuant to MR 1.4 (Communication).11                                                                       abuser, thus defeating the purpose of the self-petition and
                                                                                                            keeping the victim in a dangerous situation.
Before consulting with potential VAWA clients, lawyers
should become familiar with the legal requirements for                                                      For all of these reasons, attorneys should not consult with
VAWA and be able to analyze the underlying facts particular                                                 both parties to a potential VAWA claim. If the lawyer intends
to each client’s situation under those requirements. This                                                   to screen primarily for VAWA then the lawyer should consult
includes understanding what may constitute “battery or                                                      with the immigrant only, and not the couple together. This
extreme cruelty” and being able to adequately explain                                                       should be addressed when scheduling the appointment to
those requirements to the client. The lawyer should also                                                    avoid confusion and confrontation later on.
understand how and when certain grounds of inadmissibility
may be waived if the actions triggering those grounds are                                                   Assume that the lawyer meets with just the immigrant,
sufficiently connected to abuse.                                                                            screens for VAWA without suggesting the client make certain
                                                                                                            claims that would qualify, and finds after their discussion
If the attorney simply advertises that common everyday                                                      that the potential client may meet the requirements of a
marital problems qualify you for a work permit, travel                                                      VAWA claim. The lawyer must then investigate that claim
document and green card, despite entering without                                                           thoroughly in order to only file cases with “a basis in law and
inspection, being removed from the United States, or being                                                  fact . . . that is not frivolous [or warrant] a good faith argument
subject to the permanent bar, then a claim may be brought                                                   for an extension, modification or reversal of existing law.”15
that the attorney simply does not possess the knowledge,                                                    Attorneys should, as a matter of practice and common sense,
skill, thoroughness, and preparation reasonably necessary to                                                assume that they cannot knowingly submit any information
file VAWA claims.12                                                                                         on Form I-360, or in any and all documentation submitted in
                                                                                                            support of such applications, that is fabricated or otherwise
There is a clear conflict of interest if a lawyer meets with and/                                           not true in fact.16
or intends to work with both the abused and the abuser in
VAWA cases. If the attorney consults with both parties to the
potential VAWA case (abuser and victim), it is likely that both                                             Philosophy of Lawyering
parties may perceive that an attorney-client relationship has
                                                                                                            Attorneys often seek to justify their actions as falling within
been established and the lawyer represents them jointly.
                                                                                                            a duty to “zealously” represent their clients. But the Model
True informed consent for a waiver of the conflict in                                                       Rules actually require attorneys to be competent, truthful,
this situation would require the lawyer explain the legal                                                   and diligent: not “zealous.”17 The rules presuppose a larger


10 R egardless of whether a formal engagement is initiated, the lawyer who charges for the consultation has accepted a fee—and the client has spent money—relying upon the false/misleading advertise-
    ment.
11 A lawyer shall “reasonably consult with the client about the means by which the client’s objectives are to be accomplished.” MR 1.4(b), Communication, states “[a] lawyer shall explain a matter to the
    extent reasonably necessary to permit the client to make informed decisions regarding the representation.”
12 MR 1.1, Competency, requires a lawyer provide “the legal knowledge, skill, thoroughness and preparation reasonably necessary for the representation.” See also 8 C.F.R. § 1003.102(o).
13 MR 1.7(b)(1).
14 MR 1.7(b)(3).
15 8 C.F.R. §1003.102(j). This rule also similarly prohibits actions a lawyer “knows or reasonably should have known that his or her actions lack an arguable basis in law or in fact.“
16 If a lawyer submitted information he later discovered to be fabricated or untrue, he would have an obligation to correct the record in most circumstances under MR 3.3 and 8 CFR 1003.102(c).
17 No rule requires zeal. It is referenced in the Preamble’s comments, offset by responsibilities to the legal system. Preamble comment 1: a lawyer is an officer of the legal system. Preamble comment 8:
   a lawyer “can be a zealous advocate” but also has responsibilities as an officer. Preamble comment 9: a lawyer’s obligation to “zealously to protect and pursue a client’s legitimate interests” exists only


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legal context beyond direct representation of the client, and                                                   trivializing of VAWA relief may result in Congress making
that, while lawyers have certain duties in the advocate role,                                                   VAWA relief more restrictive if there is perception that the
they retain certain duties in their role as an officer of the                                                   system is being abused.
court and in the truth-finding process more generally. While
lawyers may certainly represent a client with zeal (exceeding                                                   Lawyers should have their own written philosophy of
minimum standards of diligence and competence) if they                                                          lawyering to guide them with these decisions.19 In drafting a
choose to do so, they may not rely upon this as an excuse for                                                   philosophy of lawyering,20 lawyers should consider their own
unethical conduct.                                                                                              moral values, as well as the broader context of standards of
                                                                                                                professionalism.21 For example, the State Bar of Georgia’s
An attorney may also counter that they have not engaged in                                                      Lawyer’s Creed calls upon lawyers to:
a frivolous filing due to a high success rate. While there may
be some validity to this statement, success is a marker of                                                                     [C]onsider the effect of [their] conduct
effective advocacy, not of compliance with rules, which look                                                                   on the image of our systems of justice
to acts and conduct, not results or purported intentions. It is                                                                including the social effect of advertising
the acts and conduct of an attorney, not success rates, that                                                                   methods. As a professional, [they] should
can violate ethical rules and form the basis for disciplinary                                                                  ensure that any advertisement of [their]
action.                                                                                                                        services: (1) is consistent with the dignity
                                                                                                                               of the justice system and a learned
Lawyers have broad discretion in how to market their                                                                           profession; (2) provides a beneficial
practices. The advertising rules generally prohibit false or                                                                   service to the public by providing accurate
misleading communications regarding the services a lawyer                                                                      information about the availability of legal
provides.18 From this foundation, rules vary significantly on                                                                  services; (3) educates the public about
the detail with which authorities regulate how lawyers may                                                                     the law and legal system; (4) provides
let the public know about the services they provide. Some                                                                      completely honest and straightforward
advertisements are clearly false and misleading while others                                                                   information about their qualifications,
are more difficult to judge. The individual lawyer must decide                                                                 fees, and costs; and (5) does not imply
how close they are willing to get to the line. Lawyers who                                                                     that clients’ legal needs can be met only
cross the line run a risk of discipline, including suspension                                                                  through aggressive tactics.22
and disbarment. Further, they risk damaging the profession,
client confidence in lawyers generally, and in the case of                                                      When a lawyer notices a colleague’s marketing may be
VAWA, misleading advertisements could lead to a higher                                                          inappropriate or even beyond what professional standards
scrutiny and disintegration or corruption of the important                                                      allow, a good first step may be to pick up the telephone.23
protections such provisions engender.                                                                           The lawyer might not be aware that he or she has stepped
                                                                                                                across the line and appreciate a call rather than a report
With advertising and marketing, opinions also play                                                              to the bar. Another way of addressing these issues more
a significant role. An advertisement might clearly be                                                           generally is to become more involved in the development
permissible under the rules but nonetheless offensive to                                                        of the legal profession, e.g., teaching or mentoring fellow
other lawyers and the public. Some advertisements might                                                         lawyers or actively participating in bar associations such as
tend to give clients ideas that would increase the possibility                                                  AILA. But if a lawyer’s conduct “raises a substantial question
of fraud, but also serve an important role in educating clients                                                 as to that lawyer’s honesty, trustworthiness or fitness as a
about possible avenues of relief. Some lawyers might find                                                       lawyer,”24 ethics rules in many jurisdictions require a lawyer
using new forms of social media distasteful, while other                                                        to inform authorities.
lawyers believe this is a way of educating members of the
public who would otherwise remain uninformed and in the                                                         Attorneys can, and should, file a petition under the VAWA
dark. In any case, lawyers must also be mindful about the                                                       where the facts and circumstances warrant. However, the
fact that VAWA is a generous form of relief that Congress has                                                   purpose of a VAWA petition is to protect self-petitioners
provided to noncitizens deserving of protection from abusive                                                    from abuse––not to assist married couples in circumventing
family members without needing to rely on the abuser as                                                         the INA. Rather than focus on making conclusory statements
a sponsor of the green card benefit. The cheapening and                                                         regarding a theory of eligibility that is seemingly at odds with


      “within the bounds of the law”; conflicts arise between the lawyer’s responsibilities to clients and to the legal system, and such conflicts are resolved by reference to the rules. MR 1.3 Comment 1: a
      lawyer should use “whatever lawful and ethical measures are required,” using “zeal in advocacy,” but the lawyer is “not bound, however, to press for every advantage that might be realized.” See also
      ABA Division for Public Education: How Courts Work: Steps in a Trial: Officers of the Court: “The lawyers for both sides are also officers of the court. Their job is to represent their clients zealously, within
      the formal rules of the Code of Professional Conduct. The belief is that justice can best be achieved if each side’s case is vigorously presented by competent legal counsel.”
18    See ABA Model Rule 7.1.
19    See Kenneth Craig Dobson, Yes, No, or Maybe: The Importance of Developing a Philosophy of Lawyering in an Era of Immigration Upheaval (AILA Doc. No. 17092930) (2017).
20    Nathan M. Crystal, Developing a Philosophy of Lawyering, 14 Notre Dame J.L. Ethics & Pub. Pol’y 75 (2000).
21    See, e.g., State Bar of Georgia, Lawyer’s Creed and Aspirational Statement on Professionalism;
22    NYCRR Part 1200, Appendix, A, STANDARDS OF CIVILITY; and SCACR 402(h)(3), Lawyer’s Oath.
22   State Bar of Georgia, Lawyer’s Creed and Aspirational Statement on Professionalism, https://www.gabar.org/aboutthebar/lawrelatedorganizations/cjcp/lawyers-creed.cfm (last accessed April 12, 2021).
23    “As to my colleagues in the practice of law, I will aspire: (a) To recognize and to develop our interdependence; (b) To respect the needs of others, especially the need to develop as a whole person, and, (c)
       To assist my colleagues become better people in the practice of law and to accept their assistance offered to me.” State Bar of Georgia, Lawyer’s Creed and Aspirational Statement on Professionalism.
24     ABA Model Rule 8.3.(a).


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the actual legal standard, attorneys are on far safer ground by   Improving your competence to handle VAWA cases inures
alluding to the possibility of relief and providing appropriate   to your benefit and lessens the chance of investigation by
disclaimers: for example, “if you have been abused by a           disciplinary counsel. You can increase your competence
spouse, parent, or adult child that is a U.S. citizen or lawful   through diligent study and by seeking outside expert
permanent resident, there may be ways to fix your status.”        assistance. If you are considering increasing your VAWA
When crafting advertising on social media, keep in mind the       practice, resources are available through AILA.
following suggested best practices:
                                                                  The Mentor Directory provides real-time, mid-case assistance
•   Do not compare and/or contrast your practice with             to assist with your research. (The VAWA section is housed
    other attorneys.                                              under the ‘asylum and removal’ section.) Every mentor is an
•   Do not provide specific client-related advice over social     AILA member experienced in that area of practice.
    media.                                                        Additionally, AILA collaborates with the Immigration Justice
•   Encourage private consultation to discuss specifics of        Campaign as a clearinghouse for volunteer (pro bono)
    case.                                                         opportunities, which are a great way to gain support,
•   For VAWA consultations, the abusive spouse should not         training, and mentorship through resourced organizations.
    be present.                                                   Please also consider the articles The Five Steps to Building
•   Stress the confidentiality of communications and              Business Through Pro Bono and Connecting with Mentors
    information provided.                                         and Colleagues: A Roadmap for Building Solid Professional
                                                                  Relationships.
If your social media message conflicts with these best
practices, you may want to consider whether the risk of           Lastly, we note that because mentorship is often a local
discipline requires a more conservative, if less trendy, use of   need with local support, your AILA chapter may well have
social media advertising.                                         mentoring programs available in the VAWA context.




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